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 7
                                   UNITED STATES DISTRICT COURT
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                                  WESTERN DISTRICT OF WASHINGTON
                                            AT TACOMA
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10      EL PAPEL LLC,
                                                              CASE NO. 2:20-cv-01323-RAJ-JRC
11                                Plaintiff,
                                                              ORDER EXTENDING PRETRIAL
12              v.                                            DEADLINES
13      JAY INSLEE, et al.,

14                                Defendant.

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16          This matter is before the undersigned on the parties’ joint email request to strike the

17   initial disclosure deadline set forth in the Court’s pretrial scheduling order. See Dkt. 13. The

18   parties request to be allowed to propose a different initial disclosure deadline in their October 23,

19   2020, joint status report.

20          The Court’s pretrial scheduling order authorized the parties to request an extension by

21   email, if they first met and conferred regarding the request. Dkt. 13, at 1. The parties have

22   complied with the procedure for requesting an extension by email, and the Court will grant their

23   request.

24


     ORDER EXTENDING PRETRIAL DEADLINES - 1
            Case 2:20-cv-01323-RAJ-JRC Document 38 Filed 10/16/20 Page 2 of 2




 1          The Clerk shall strike the current initial disclosures deadline, and the parties shall propose

 2   a different deadline in their joint status report. Otherwise, the Court’s pretrial scheduling order

 3   (Dkt. 13) remains in effect.

 4          Dated this 16th day of October, 2020.

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 7                                                         A
                                                           J. Richard Creatura
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                                                           United States Magistrate Judge
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     ORDER EXTENDING PRETRIAL DEADLINES - 2
